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         MICHAEL J. YOUNG
         610 0ld Farrn Road
         Colunnbus, Ohio 43213

                                 Plaintiff,                              COMPLAINT FOR RELI$F
                                                                         AND WONETAR DAMAGES
                        Vs,


                                                                         JURY DFMAND ENI)ORSED
         LEXISNEXIS
        DIVISION OF RF,LX PLC
        230 Park Avenue - Floor 7
        New York, New York 10169


        EQUIF.AX CREDIT INFORMATION SERVICES, INC.
        1550 Peachtree Street NW
        Atlanta, Georgia 30309

        EXPER?AN }NFORMAT?ON SOLUTIONS, INC.
        29 Broadway
        Sixth Floor
        New York, New York 10009

        TRANSUNION INTERMEDIATE HOLDKNGS, INC.
        555 W. Adams Street
        Cliicago, Il?inois 60661

                              Defendants.

                                                  COMPLAINT



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        Plaintiff Michae? J. Young (hereinafter '4Young") is an individual residing in Colurnbus, Ohio
        and is involved in various business activities whereby he seeks financing and credit from Banks,
        Lenders and other entities.


        Defendants RELX PLC LexisNexis (hereinufter ?LexisNexis"), Eqiiifav Credit Information
        Servtces, Inc. (hereinafter 4'Equifax"), Experian Information Solutions, Inc. (hereinafter
        "Experian") and TransUnion Intermediate Holdings, Inc. (hereinafter '4TransUnion") supply
        credit and regal research ird'ormation data to Banks, Lenders and other eredtt granting entities.
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                                                      PARI:'tES

              1. Plaintiff is an Ohio resident restding at 610 0ld Farm Road in Columbus, Ohto.

              2. De'fendants RELX PLC LexisNexis, Equifax Credit Information Services, Inc.,

                 Experian Information SoJutions, Inc. and TransUnion Iiitermediate Holdings, Inc. are

                 entities that do business in the State of Oliio and are duly qualified to do business in

                 Ohio.




                                          JQFJS?!)]!CTION 4ND VE,q?UE

              3. Tlie Court has jurisdiction over this action pursuant to O.R.C. 2305.01.

              4. Venue is proper pursuant to the Ohio Rules o'f' Civil Procedure Sections 3(B)(3) and

                 3(B)(6) among others.




                                                     COUNTI


              s. R?U'LX PLC LexisNexis (hereinafter ?LexisNexis") has reported erroneous

                 information on Plaintiff Michael J, Young (hereinafter '4Young") to Equifax Credit

                 Information Services, Inc. (hereinnfter '4Equifax") and Experian Informatton

                 Soluttons, Inc. (liereinafter ?Experian") and TransUnion Intermediate Holdings, Inc.

                 (hereinnfter "TransUnion"). Said erroneous information includes the following items:

                    a) United States Bankruptcy Court-Southern Distriet Of Ohio Case No. 15-S40'l5,

                         wherein LexisNexis reported that the Petitioner was Plaintiff oung as a

                         "Personal Filer' instead of his status in the filing only in his capacity as a

                         "Trustee". LexisNexts has erroneously reported to Equffax, F.ixperian and

                         TransUnion that this filing was a ?Personal Bankruptey" of Young and,
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                       thereafter, Equifax, F,xperian and TransUnion issued credit reports noting that

                       this was n "personal Bankruptcy? of oung.

                   b) United States Bankruptcy Court-Southern District (X Ohio Case No.l5-57653,

                       wherein LexisNexis reported that the Petitioner was Plaintjff Young ag a

                       "Personal Filer' instead of hjs status in the filing only in his capacity as a

                      4'Trustee". LexisNexjs has erroneously reported to Equifax, Experian and

                      TransUnion that this filing was a '&Personal Bankruptcy" of Young and,

                      thereafter, Equifax, Experian and TransUnion issued credit reports nottng thnt

                      this was a "personal Bankruptcy" of Young.

                   e) United States Bankruptey Court-Southern District Of Ohio Case No. 16-53726,

                      wherein LexisNexis reported that the Petitioner was Plaintiff Young as a

                      "I)ersonal Filer' instead of his status in the fi?ing only in his capacity as a

                      "Trustee". LexisNexis has erroneously reported to Equifax, Experian and

                      TransUnion that this filjng was a "Personal Bankruptcy" of Young and,

                      therea'fter, Equifax, Experian and TransUnjon issued credit reports noting that

                      this was a "personal Bankruptcy" of Young.

                   d) A Federal Tax Lien filed In Fairfield County, Ohio, Lien No. 201500006068, in

                      tbe a'inount of $53,467, filed of reeord tn April, 2015 and still valid. LexisNexis

                      has erroneously reported to Equifax, Experjan and TransUnion that this hen is

                      still of reeord and not released, and, thereafter, Equifax, Experian and

                      TransUnion issued credit reports noting that this was an ?unpaid tax lien" of

                      Young and stiil of record.

                  e) A ]Federal l'ax Lien filed In Franklin County, Ohio, Lten No. 201509101286, in

                      the amount of $20,796, filed ot record in Septmnber, 2015 and stijl valid.

                      LexisNexis has erroneously reported to Equffax, Experian and TransUnion
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                          that this hen is still of reeord and not released, and, thereafter, Equifax,

                          Experian and TransUnion issued credit reports noting that this was an "unpaid
                          tax ljen" of Young and sttll of record.



               6. Dej'endant Young has repeatedly contacted LexisNexis* by tejephone conversations
                  and in writing, about the error in reporting these items set forth in a, b, c, d and e
                  above, and other erroneous information, to Equifax, Experjan and TransUnion.
                  LexisNexis has refused to correet its erroneous reporting and continues to report, in a
                  'Greckless" arid €'arrogant" manner, thu incorrect information, in deference to
                  Plaintiff Young's requests for corrections. The reporting and issuance of this
                  erroneous information has damaged the reputation oi' Plaintiff Young and his abtlity
                  to get credit from Banks and Lenders.


                                                    GOUN"I' Il

              7. Plaintiff Young hereby incorporates and restates the above paragraphs as if fully
                  rewritten herein.


              8. Defendant Equifax has used the erroneous information from LexisNexis 011 credit
                  reports it has issued on Plaintiff Young, and Young has repeated?y contacted Equifax,
                  in writing and by e-mail eorrespondence, about the error in reporting this erroneous
                  and incorrect information. Equifax has refused to correct its erroneous reporting and
                  continues to report, in a 46reckless" and <'arrogant" manner, this ineorrect
                 tnf'orniation, in det'erence to Pjaintiff Young's requests for corrections. The
                  reporting and issuance of this erroneous information by Equifax has damaged the
                 reputation of Plaintiff Young and hts ability to get credit from Banks and Lenders.
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               9. €n addition to the tortious bebavior by Defendant Equifax set forth above, Equifax has

                  issued eredit information and a 'credit score' or 'credit rating' on P!aintiff Young to

                  various companies that make loans or advanee credit to individnnls such as Young.

                  Except 'for some written authorizations given by Young for specific credit

                  applications, Young has never authorized Equifax to issue any cred*t report or rating

                  of hb credit to any entity or individual. This reporting of Plaintiff Young's credit

                  history and a rating, whether accurate or erroneous, is illegal and an 'invasion of

                  privacy' of Young's rights, both under Ohio and United States law, and the issuance

                  of said repor€s and ratings have damaged Young and his abuity to do business,



                                                   COUNT m


              10. Plaintiff Young hereby incorporates and restates the above paragraphs as ff fully

                 rewritten herein.


              11. Defendant Experian has used the erroneous informmtion from LexisNexis on eredit

                 reports it bas issued on Plaintiff Young, and Young has contacted Experian about the

                 error in reporting this erroneous and incorrect information. Experian has refused to

                 correet its erroneous reporting and continues to report, in a '4reckless" and

                 '4arrogant" manner, this incorrect information, in deference to Plaintiff Young's

                 requests for corrections. The reporting and issuance of thSs erroneous information by

                 Experian hns danxaged the reputation of Plaintiff Young and his ability to get credit

                 from Banks and Lenders.


              12. In addition to the tortious behavior by Defendant Experian set forth above, Experian

                 bas issued credit inj'ormation and a 4eredit score' or 'credit rating' on Plaintiff Young

                 to various companies that make loans or advance eredit tn indiv!dnals such as Young.
                 Except for sotne written authorizations given by Young for speci'flc credit
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                  applications, Young has never authorized Experian to issue any credit report or rating

                  of his credit to any entity or individual. This reportixig of Plaintiff oung's credit

                  history and a ratixig, whether accurate or erroneous, is illegal and an <invasion of

                  privucy' of Young's rights, both under Ohio and United States law, and the issuance

                  of said reports and ratings have damaged Young and his ability to do business.



                                                   CQUNT IV

              13, Plaintiff Young hereby ineorporates and restates the above paragraphs as if fully

                  rewritten herein,


              14. Defendant TransUnion has used the erroneous information froxn LexisNexis on credit

                 reports it has iSsued on Plaintiff )'oung, and Young has repeated?y contacted

                 TransUnion, ixi writing and by e-mail correspondence, about the error in reporting

                 this erroxieous and incorreet information. TransUnion Iias refused to correct its

                 erroneous reporting and continues to report, in a "rec!dess" and 44arrogant" manner,

                 this incorrect tnformat*on, in deference to ]!aintiff Young's requests for corrections.

                 The reporting and issuance of this erroneous jnformation by TransUnion has

                 damaged the reputation of Plaintiff Young and his abiJity to get credit from Banks
                 and Lenders.


              15. In addition to tbe tortious behavjor by Detendant TransUnion set forth above,

                 TransUnion has issued credit information and a 'credit score' or 'credit rating' on
                 Plaintiff Young to various companies that make loans or advance credit to individuals

                 such as Young. Except J'or some written authorizations given by Young for speeific

                 credit applications, Young has never authorized TransUnion to issue any credit report
                 or rating of his credit to any entity or individual. This reporting of Plaintiff Young's
                credit history and a rating, whether accurate or erroneous, is H?egal and an 'invasion
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               of privacy' of Young's rights, both under Ohio and United States Iaw, and the

               issuance of said reports and ratings have damaged Young and his abiiity to do

               business.


                   WHERF,FORE, P?aintiff Micbael J. Young detnandq judgment against Defendants

                 RELX PLC LexisNexis, Equifax Credit Information Serviees, Inc@, Experian

                 Information Solutions, Inc. mnd TransUnion Intermediate Holdings, Inc., joint?y and

                 severally, and for the relief as follows:

                 A. As to Count I, an Order of the Court that t) direets LexisNexis to delete all

                    information as set forth in Paragraphs s. a), b), c), d) and e) of this Complaint as

                    to erroneous inf'ormation it is reporting; ii) to notify Defendants Equifax,

                    Experian and TransUnion to delete thjs erroneous information from all credtt

                    reports of Plaintiff Young; iii) to issue a letter of correction direeted to all entities

                    that Plaintiff Young provides to LexisNexts regarding said erroneous

                    information as set forth in said Paragraphs s. a), b), c), d) and e) of this

                    Complaint ; iv) for a monetary judgment mgainst LexsisNexis in favor of Plaintiff

                    Young for compensatory damages in the amount of $500,000.00 and for a

                    monetary judgment against LexisNexis in favor of Plaintiff Young for punitive

                    damages in the amount of $1,500,000.00.

                B. As to Count II, an Order of the Court that i) directs Equil'ax to delete all

                   information as set forth in Paragraphs s. a), b), c), d) and e) of this Complaint as
                   to erroneous information it is reporting in credit reports on Plaintiff Young; u)
                   to jssue a letter of correction directed to all entities that Plaintiff Young provides
                   to Equifax regarding said erroneous information as set forth in said Paragraphs
                   s. a), b), c), d) and e) of this Complaint; iii) to refrain from issuing to any person
                   or entity, without the express consent of Plaintiff Young, any and all eredit
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                         reports, credit ratings and eredit seores regarding Plaintiff Young, and; iv) for a
                         monetary judgment against Equifax in favor of Piaintiff Young for
                        compensatory damages in the amount of $500,000.00 and for a monetary
                        judgment against Equifax in favor of Plaintiff Young for punitive damages in the
                        amount of Sl,500,000.00.

                     C. As to Count III, an Order of the Court that i) directs Experian to delete all
                        bif'ormation as set forth in Paragraphs s. a), b), c), d) and e) of this Comp}aint as
                        to erroneous information it is reporting in credtt reports on Plaintiff Young; ti)
                        to issue a letter of correction directed to all entities tbat P?aintiff Young provides
                        to Experian regarding satd erroneous information as set t'ortli in said Paragrnphs
                        s. a), b), e), d) and e) of this Comp)aint; iii)to refrain trom issuing to any person
                        or entity, without the express consent of P?aintiff Young, any and all credit
                       reports, credit ratings and credit scores regarding Plaintiff Young, and; iv) for a
                       monetary judgment against Experian in favor of PJaintiff Young for
                       compensatory damages in the amount of $500,000.00 and for a monetary
                       judgment against Experian in favor of Plaintiff Young for punitive damages in
                       the amount of $1,500,000.00.

                 D. As to Count IV, an Order of the €ourt that i) directs TransUnion to delete all
                       information as set forth in Paragraphs s. a), b), c), d) and e) of this Complaint as
                       to erroneous information it is reporting in credit reports on Plaintiff Young; ii)
                       to issue a letter of correction directed to a?l entities thnt Plaintiff Young provides
                       to TransUnion regarding said erroneous information as set forth in said
                      Paragraphs s. a), b), c), d) and e) of this Complaint; iii) to refrain from issuing to
                      any person or entity, without the express eonsent of Plaintiff oung, any and all
                      credit reports, credit ratings and credit scores regarding Plaintiff Young, and;
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                     iv) for a monetary judgment against TransUnion in favw of Plaintiff Young for

                     compensatory damages in tbe amount of $500,000.00 and for a monetsry

                     judgment against TransUnjon in favor of Plaintiff Young for punttive damages

                     in the amount of $1,500,000.00,

                 E. Payment of all of Plajntiff Young's attorney fees, court costs and any and all of

                     his expenses reJated to this aetion. And,

                 F. For such other legal and equitable relief to which Plaintiff Young may be

                     entitled.




                                                                 ')'Z'hL-J" ./..)- M"-w
                                                                 '?'siel J. Youn', (
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